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                            UNITED STATES DISTRICT COURT                         DOC #:
                           SOUTHERN DISTRICT OF NEW YORK                         DATE FILED: 11/18/19

 IN RE BANCO BRADESCO S.A.                          Civil Case No. 1:16-cv-04155 (GHW)
 SECURITIES LITIGATION
                                                    ECF CASE




       JUDGMENT APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, a putative securities class action is pending in this Court entitled In re Banco

Bradesco S.A. Securities Litigation, Civil Case No. 1:16-cv-04155 (GHW) (the “Action”);

       WHEREAS, Lead Plaintiff Public Employees’ Retirement System of Mississippi, on

behalf of itself and the Settlement Class (as defined below), and defendants Banco Bradesco S.A.

(“Bradesco”), Luiz Carlos Trabuco Cappi, and Luiz Carlos Angelotti (collectively, “Defendants”

and together with Lead Plaintiff, the “Parties”) have entered into the Stipulation and Agreement

of Settlement dated July 1, 2019 (the “Stipulation”), that provides for a complete dismissal with

prejudice of the claims asserted against Defendants in the Action on the terms and conditions set

forth in the Stipulation, subject to the approval of this Court (the “Settlement”);

       WHEREAS, unless otherwise defined in this Judgment, the capitalized terms used herein

shall have the same meanings as they have in the Stipulation;

       WHEREAS, by Order dated July 24, 2019 (the “Preliminary Approval Order”), this Court:

(a) preliminarily approved the proposed Settlement, finding that the Parties demonstrated that the

Court would likely be able to approve the Settlement as being fair, reasonable, and adequate to the

Settlement Class under Rule 23(e)(2) of the Federal Rules of Civil Procedure, subject to further

consideration at the Settlement Fairness Hearing; (b) provisionally certified the Settlement Class

solely for the purpose of effectuating the Settlement, preliminarily finding the prerequisites for
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class action certification under Rule 23 of the Federal Rules of Civil Procedure with respect to the

Settlement Class are likely to be found to be satisfied; (c) directed that notice of the proposed

Settlement be provided to Settlement Class Members; (d) provided Settlement Class Members

with the opportunity either to exclude themselves from the Settlement Class or to object to the

Settlement; and (e) scheduled a hearing regarding final approval of the Settlement;

       WHEREAS, due and adequate notice has been given to the Settlement Class;

       WHEREAS, the Court conducted a hearing on November 13, 2019 (the “Settlement

Fairness Hearing”) to consider, among other things, (a) whether the terms and conditions of the

Settlement are fair, reasonable, and adequate to the Settlement Class, and should therefore be

approved; and (b) whether a judgment should be entered dismissing the Action with prejudice as

against the Defendants; and

       WHEREAS, the Court, having reviewed and considered the Stipulation, all papers filed

and proceedings held herein in connection with the Settlement, all oral and written comments

received regarding the Settlement, and the record in the Action, and good cause appearing therefor;

       NOW THEREFORE, IT IS HEREBY ORDERED:

       1.      Jurisdiction – The Court has jurisdiction over the subject matter of the Action, and

all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and

each of the Settlement Class Members.

       2.      Incorporation of Settlement Documents – This Judgment incorporates and makes

a part hereof: (a) the Stipulation filed with the Court on July 1, 2019; and (b) the Postcard Notice,

the Notice, and the Summary Notice, all of which were filed with the Court on October 8, 2019.

       3.      Certification of the Settlement Class for Purposes of Settlement – Pursuant to

Rule 23 of the Federal Rules of Civil Procedure, this Court certifies, solely for purposes of

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effectuating the Settlement, this Action as a class action on behalf of a Settlement Class — defined

as all persons and entities who purchased or otherwise acquired the preferred American Depositary

Shares (“PADS”) issued by Bradesco during the period from August 8, 2014 through July 27,

2016, inclusive, and were injured thereby. Excluded from the Settlement Class are: (i) Defendants;

(ii) the individual Defendants’ Immediate Family members; (iii) any person who was an officer or

director of Bradesco during the Settlement Class Period; (iv) any firm, trust, corporation, or other

entity in which a Defendant has or had a controlling interest; (v) Bradesco’s employee retirement

and benefits plan(s) and their participants or beneficiaries, to the extent they made purchases or

otherwise acquired PADS through such plan(s); and (vi) the legal representatives, affiliates, heirs,

successors-in-interest, or assigns of any such excluded person or entity. Also excluded from the

Settlement Class are any persons and entities who or which excluded themselves from the

Settlement Class by submitting a request for exclusion that is accepted by the Court, as listed on

the attached Exhibit 1.

       4.      Lead Plaintiff is hereby appointed, for purposes of effectuating the Settlement only,

as representative for the Settlement Class pursuant to Federal Rule of Civil Procedure 23. Kessler

Topaz Meltzer & Check, LLP, which was appointed by the Court to serve as Lead Counsel, is

hereby appointed, for settlement purposes only, as counsel for the Settlement Class pursuant to

Rules 23(c)(1)(B) and (g) of the Federal Rules of Civil Procedure.

       5.      Notice – The Court finds that the dissemination of the Postcard Notice, the posting

of the Notice on the Settlement Website, and the publication of the Summary Notice: (a) were

implemented in accordance with the Preliminary Approval Order; (b) constituted the best notice

practicable under the circumstances; (c) constituted notice that was reasonably calculated, under

the circumstances, to apprise Settlement Class Members of (i) the pendency of the Action; (ii) the

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effect of the proposed Settlement (including the Releases to be provided thereunder); (iii) Lead

Counsel’s motion for an award of attorneys’ fees and payment of Litigation Expenses; (iv) their

right to object to any aspect of the Settlement, the Plan of Allocation, and/or Lead Counsel’s

motion for attorneys’ fees and payment of Litigation Expenses; (v) their right to exclude

themselves from the Settlement Class; and (vi) their right to appear at the Settlement Fairness

Hearing; (d) constituted due, adequate, and sufficient notice to all persons and entities entitled to

receive notice of the proposed Settlement; and (e) satisfied the requirements of Rule 23 of the

Federal Rules of Civil Procedure, the United States Constitution (including the Due Process

Clause), the Private Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4, as amended, and

all other applicable law and rules.

       6.      CAFA – The Court finds that the notice requirements set forth in the Class Action

Fairness Act of 2005, 28 U.S.C. § 1715, to the extent applicable to the Action, have been satisfied.

       7.      Final Settlement Approval and Dismissal of Claims – Pursuant to, and in

accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby fully and

finally approves the Settlement set forth in the Stipulation in all respects (including, without

limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with

prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,

in all respects, fair, reasonable, and adequate to the Settlement Class. Specifically, the Court finds

that, pursuant to Rule 23(e)(2), (A) Lead Plaintiff and Lead Counsel have adequately represented

the Settlement Class; (B) the Settlement was negotiated at arm’s length; (C) the relief provided for

the Settlement Class is adequate, taking into account: (i) the costs, risks, and delay of trial and

appeal; (ii) the effectiveness of the proposed method of distributing relief to the Settlement Class,

including the method of processing Settlement Class Member claims; (iii) the terms of the

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proposed award of attorneys’ fees, including timing of payment; and (iv) any agreement required

to be identified under Rule 23(e)(3); and (D) the Settlement treats Settlement Class Members

equitably relative to each other. The Parties are directed to implement, perform, and consummate

the Settlement in accordance with the terms and provisions contained in the Stipulation.

       8.      The Action and all of the claims asserted against Defendants in the Action by Lead

Plaintiff and the other Settlement Class Members are hereby dismissed with prejudice. The Parties

shall bear their own costs and expenses, except as otherwise expressly provided in the Stipulation.

       9.      Binding Effect – The terms of the Stipulation and of this Judgment shall be forever

binding on Defendants, Lead Plaintiff, and all other Settlement Class Members (regardless of

whether or not any individual Settlement Class Member submits a Claim Form or seeks or obtains

a distribution from the Net Settlement Fund), as well as their respective successors and assigns.

The persons and entities listed on Exhibit 1 hereto are excluded from the Settlement Class pursuant

to request, and are not bound by the terms of the Stipulation or this Judgment.

       10.     Releases and Bars – The Releases set forth in paragraphs 4 through 8 of the

Stipulation, together with the definitions contained in paragraph 1 of the Stipulation relating

thereto, are expressly incorporated herein in all respects. The Releases are effective as of the

Effective Date. Accordingly, this Court orders that:

               (a)    Without further action by anyone, and subject to paragraph 11 below, upon

the Effective Date of the Settlement, Lead Plaintiff and each of the other Settlement Class

Members, on behalf of themselves, and their respective heirs, executors, administrators, trusts,

trustees, estates, beneficiaries, insurers, reinsurers, predecessors, successors and assigns (and

assignees of each of the foregoing) in their capacities as such, shall be deemed to have, and by

operation of law and of the Judgment shall have, fully, finally and forever compromised, settled,

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released, resolved, relinquished, waived and discharged each and every Released Plaintiffs’ Claim

against the Defendant Releasees, and shall forever be barred and enjoined from prosecuting any

or all of the Released Plaintiffs’ Claims against any of the Defendant Releasees.

               (b)     Without further action by anyone, and subject to paragraph 11 below, upon

the Effective Date of the Settlement, Defendants, on behalf of themselves, and their respective

heirs, executors, administrators, trusts, trustees, estates, beneficiaries, insurers, reinsurers,

predecessors, successors and assigns (and assignees of each of the foregoing) in their capacities as

such, shall be deemed to have, and by operation of law and of the Judgment shall have, fully,

finally and forever compromised, settled, released, resolved, relinquished, waived and discharged

each and every Released Defendants’ Claim against the Plaintiff Releasees, and shall forever be

barred and enjoined from prosecuting any or all of the Released Defendants’ Claims against any

of the Plaintiff Releasees.

       11.     Notwithstanding paragraphs 10(a) – (b) above, nothing in this Judgment shall bar

any action by any of the Parties to enforce or effectuate the terms of the Stipulation or this

Judgment.

       12.     Related Proceedings – The Settlement contemplated by the Stipulation will

become effective regardless of the outcome of any proceedings, including those pending in Brazil,

involving Bradesco and/or its current and/or former employees, arising from the same

circumstances that Lead Plaintiff alleged.

       13.     Rule 11 Findings – Pursuant to 15 U.S.C. § 78u-4(c)(1) and based on its review of

the record, the Court finds that the Parties and their respective counsel complied with the

requirements of Rule 11(b) of the Federal Rules of Civil Procedure in connection with the




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Amended Complaint (ECF No. 45), Answer and Amended Answer (ECF Nos. 101, 106), and

dispositive motion (ECF Nos. 63-65) filed in the Action.

       14.     No Admissions – Neither this Judgment, the Stipulation (whether or not

consummated), including the exhibits thereto and the Plan of Allocation contained therein (or any

other plan of allocation that may be approved by the Court), the negotiations leading to the

execution of the Stipulation, nor any proceedings taken pursuant to or in connection with the

Stipulation and/or approval of the Settlement (including any arguments proffered in connection

therewith): (a) shall be offered against any of the Defendant Releasees as evidence of, or construed

as, or deemed to be evidence of any presumption, concession, or admission by any of the

Defendant Releasees with respect to the truth of any fact alleged by Lead Plaintiff or the validity

of any claim that was or could have been asserted or the deficiency of any defense that has been

or could have been asserted in this Action or in any other litigation, or of any liability, negligence,

fault, or other wrongdoing of any kind of any of the Defendant Releasees or in any way referred

to for any other reason as against any of the Defendant Releasees, in any civil, criminal or

administrative action or proceeding, other than such proceedings as may be necessary to effectuate

the provisions of the Stipulation; (b) shall be offered against any of the Plaintiff Releasees, as

evidence of, or construed as, or deemed to be evidence of any presumption, concession or

admission by any of the Plaintiff Releasees that any of their claims are without merit, that any of

the Defendant Releasees had meritorious defenses, or that damages recoverable under the

Amended Complaint would not have exceeded the Settlement Amount or with respect to any

liability, negligence, fault or wrongdoing of any kind, or in any way referred to for any other reason

as against any of the Plaintiff Releasees, in any civil, criminal or administrative action or

proceeding, other than such proceedings as may be necessary to effectuate the provisions of the

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Stipulation; or (c) shall be construed against any of the Releasees as an admission, concession, or

presumption that the consideration to be given hereunder represents the amount which could be or

would have been recovered after trial; provided, however, that the Parties and the Releasees and

their respective counsel may refer to the Stipulation to effectuate the protections from liability

granted hereunder or otherwise to enforce the terms of the Settlement.

       15.     Retention of Jurisdiction – Without affecting the finality of this Judgment in any

way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of

the administration, interpretation, implementation, and enforcement of the Settlement; (b) the

disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or payment

of Litigation Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund;

(d) any motion to approve the Plan of Allocation; (e) any motion to approve the Class Distribution

Order; and (f) the Settlement Class Members for all matters relating to the Action.

       16.     Separate orders shall be entered regarding approval of a plan of allocation and the

motion of Lead Counsel for an award of attorneys’ fees and payment of Litigation Expenses. Such

orders shall in no way affect or delay the finality of this Judgment and shall not affect or delay the

Effective Date of the Settlement.

       17.     Modification of the Agreement of Settlement – Without further approval from

the Court, Lead Plaintiff and Defendants are hereby authorized to agree to and adopt such

amendments or modifications of the Stipulation or any exhibits attached thereto to effectuate the

Settlement that: (a) are not materially inconsistent with this Judgment; and (b) do not materially

limit the rights of Settlement Class Members in connection with the Settlement. Without further

order of the Court, Lead Plaintiff and Defendants may agree to reasonable extensions of time to

carry out any of the provisions of the Settlement.

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       18.     Termination of Settlement – If the Settlement is terminated as provided in the

Stipulation or the Effective Date of the Settlement otherwise fails to occur, including as a result of

any appeals, this Judgment shall be vacated, rendered null and void and be of no further force and

effect, except as otherwise provided by the Stipulation, and this Judgment shall be without

prejudice to the rights of Lead Plaintiff, Settlement Class Members, and Defendants, and the

Parties shall be deemed to have reverted nunc pro tunc to their respective positions in the Action

as of the date immediately prior to the execution of the Term Sheet. Except as otherwise provided

in the Stipulation, in the event the Settlement is terminated in its entirety or if the Effective Date

fails to occur for any reason, the balance of the Settlement Fund including interest accrued therein,

less any Notice and Administration Costs actually incurred, paid or payable and less any Taxes

and Tax Expenses paid, due or owing, shall be returned by the Escrow Agent to the parties who

contributed to the payment of the Settlement Amount as instructed by Defendants’ Counsel, in

accordance with the Stipulation.

       19.     Entry of Final Judgment – The Clerk of Court is directed to terminate the

motion pending at Dkt. No. 201, enter judgment, and close the case.


       SO ORDERED_________           November
                  this 18 thday of _________ _________, 2019.



                                                      ____________________________________
                                                              GREGORY H. WOODS
                                                            United States District Judge




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                                      Exhibit 1
                     List of Persons and Entities Excluded from
                      the Settlement Class Pursuant to Request


1.   Biscayne Commodities S.A.
     Road Town, Tortola
     British Virgin Islands




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